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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 08-20574-CR-LENARD/GARBER


  UNITED STATES OF AMERICA )
                             )
                  Plaintiff, )
  vs.                        )
                             )
  DAVID PACKOUZ,             )
                             )
                  Defendant. )
                             )

                           GOVERNMENT’S SIXTH RESPONSE TO
                            THE STANDING DISCOVERY ORDER

         The United States hereby files this sixth response to the Standing Discovery Order. This

  response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

  numbered to corresponded with Local Rule 88.10.

         A.     5.     Books, papers, documents, photographs, tangible
                       objects, buildings or places, or copies or portions
                       thereof, which are material to the defendant’s defense,
                       or which the Government intends to use as evidence
                       at trial to prove its case in chief, or were obtained
                       from or belonging to the defendant, include the
                       following and are available for review by contacting
                       the vender referenced below:


                        CA 0001 - CA 0139
                        SWG-00-00001 - SWG-00-00067
                        WFB 0001 - 0639
                        WFBank 0001 - 0143
                        WFBank 0510 - 0883
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                   Vender:
                   Xpediacopy
                   Attn: Ignacio Montero
                   2800 Glades Circle, Suite 118
                   Weston, FL 33327
                   (954) 384-2112 Office
                   (954) 384-2115 Fax

                   These materials are not necessarily copies of all the
                   books, papers, documents, etc., that the Government
                   may intend to introduce at trial.




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         The Government is aware of its continuing duty to disclose such newly discovered additional
  information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal
  Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

                                                      Respectfully submitted,

                                                      R. ALEXANDER ACOSTA
                                                      UNITED STATES ATTORNEY

                                                      /s
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 19, 2008, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record identified on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

  other authorized manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                                        s/
                                                        Eloisa Delgado Fernandez
                                                        Assistant United States Attorney




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                                        SERVICE LIST
                                  United States vs. AEY, Inc.
                         Case No. 08-20574-CR-LENARD/GARBER
                   United States District Court, Southern District of Florida




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